         Case 2:25-cv-02862-JS-ST                    Document 7         Filed 05/23/25     Page 1 of 2 PageID #: 26

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District of New York

        KELCEY LAURIA a/k/a KELCEY TAYLOR                           )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)
                                                                    )
                                                                    )
                                 V.                                        Civil Action No. 2:25-cv-02862-JS-ST
                                                                    )
                     NYU LANGONE HEALTH                             )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION
                 ,                     NYU Langone Health
To: (Defendants name and addressJ         F' S
                                       259 irst treet
                                       Mineola, NY 11501




          A lawsuit has been filed against you.

         Within 21 days after se1vice of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States desc1ibed in Feel. R. Civ.
P. 12 (a)(2) or (3) - you must se1ve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be se1ved on the plaintiff or plaintiffs attorney,
whose name and address are: The Law Firm of Adam C. Weiss, PLLC
                                           3 School Street, Ste 303
                                           Glen Cove, New York 11542




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                              CLERK OF COURT

             5/23/2025                                                              /s/ C. Valle
Date:
                                                                                         Signature ofClerk or Deputy Clerk
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 Civil Action No. 2:25-cv-02862-JS-ST

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
